Case 2:16-cr-00217-MCE Document 31 Filed 01/09/17 Page 10

  

 

Read Instructions.

AUDIO RECORDING ORDER

— JAN 0 § 2017
(Rev. 04/13) ADMINISTRATIVE OFFICE OF THE UNITED STATES COLRKER K, U.S. GISTRICT SC
ASTERN DISTRICT OF

OURT
CALIFORNIA
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BY

 

1. NAME
Thomas Johnson

2. PHONE NUMBER
(916) 442-4022

He _—
3. EMAIL ADDRESS. U IF

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

4. MAILING ADDRESS 5, CITY 6. STATE 7. ZIP CODE
400 Capitol Mall, Suite 1620 Sacramento CA 95814
8. CASE NUMBER 9. CASE NAME DATES OF PROCEEDINGS
2:16-cr-00217-MCE US v. Satish Kartan, et al. 10. FROM 40/21/2016 |11.TO 10/21/2016
12. PRESIDING JUDGE LOCATION OF PROCEEDINGS
Hon. Carolyn K. Delaney 13. CITY Sacramento | 14. STATE CA
15. ORDER FOR

L] APPEAL IX CRIMINAL [_] CRIMINAL JUSTICE ACT L] BANKRUPTCY
L] NON-APPEAL CI) crit C1 IN FORMA PAUPERIS C1 OTHER (specify)

16. AUDIO RECORDING REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which duplicate recordings are requested.)

PORTION (S) DATE(S) PORTION(S) DATE(S)
[VOIR DIRE [] TESTIMONY (Specify Witness)
[1] OPENING STATEMENT (Plaintiff)
[1] OPENING STATEMENT (Defendant)
[1 CLOSING ARGUMENT (Plaintiff) [1] PRE-TRIAL PROCEEDING (Specify)
[] CLOSING ARGUMENT (Defendant)
[OPINION OF COURT
[1 JurRY INSTRUCTIONS [1 OTHER (Specify)
[] SENTENCING
Ww BAIL HEARING 10/21/16

17. ORDER
NO. OF COPIES REQUESTED COSTS
[1 DUPLICATE TAPE(S) FOR PLAYBACK ON A STANDARD
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LC ELECTRONIC FILE (via email, digital download, or other Judicial Conference
Approved Media)

  

 

 

   

 

 

 

CERTIFICATION (18

 

19.) By signing below, I certify that I will p

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18. SIGNATURE, a 19. DATE
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